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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Action No. 19-cv-00027-PAB-KMT

  CHERYL-LEE ELLEN BERRETH and
  DARRELL LYNN BERRETH,

        Plaintiffs,

  v.

  PATRICK M. FRAZEE,

        Defendant.


                                     MINUTE ORDER

  Entered by Judge Philip A. Brimmer

          This matter is before the Court on defendant’s Motion to Dismiss [Docket No. 9].
  On February 15, 2019, plaintiff filed an Amended Complaint [Docket No. 10] as a
  matter of course pursuant to Fed. R. Civ. P. 15(a)(1). Thus, the Amended Complaint
  became the operative pleading in this action, and the Motion to Dismiss [Docket No. 9]
  is directed to an inoperative, superseded pleading. See, e.g., Gilles v. United States,
  906 F.2d 1386, 1389 (10th Cir. 1990) (“a pleading that has been amended under Rule
  15(a) supersedes the pleading it modifies”) (internal quotation marks omitted). As such,
  the motion to dismiss is moot. It is

        ORDERED that defendant’s Motion to Dismiss [Docket No. 9] is denied as moot.

        DATED February 20, 2019.
